         Case 1:19-cr-00472-PAC Document 116
                                         115 Filed 01/11/21
                                                    01/08/21 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                    January 8, 2021
By ECF
Honorable Paul A. Crotty                             1/11/2021
United States District Judge                         Time will be excluded from
Southern District of New York                        January 18, 2021 through April
Daniel Patrick Moynihan U.S. Courthouse              5, 2021. SO ORDERED.
500 Pearl Street
New York, NY 10007

       Re:    United States v. Tagliaferro, et al., 19 Cr. 472 (PAC)

Dear Judge Crotty:

       On January 8, 2021, in light of amendments to Chief Judge McMahon’s standing order
adjourning all trials in the Southern District of New York through February 12, 2021, this Court
adjourned the trial in the above-referenced matter, previously scheduled to begin on January 18,
2021, to April 5, 2021. (See ECF No. 114.)

       In light of that adjournment, the Government respectfully requests that the Court exclude,
pursuant to 18 U.S.C. § 3161(h)(7)(A), time between January 18 and April 5, given recent events
and their effect on the parties’ ability to prepare for and proceed to trial. See also In re
Coronavirus/COVID-19 Pandemic, 20-MC-622 (S.D.N.Y. Jan. 6, 2021). The Government has
consulted with counsel for defendant Salvatore Tagliaferro, who consents to this request.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney
                                                    Southern District of New York

                                            By:                 /s/
                                                    Thomas A. McKay / Jarrod L. Schaeffer
                                                    Assistant United States Attorneys
                                                    Tel: (212) 637-2268 / 2270


cc: Counsel of Record (via ECF)
